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STATE OF MAINE SUPERIOR COURT
PENOBSCOT, ss DOCKET No.
TERRY and KELLY VARNEY,

individually and

As Parents and Next Friend of R.V.
Plaintiffs,
V.

DENISE RICHARDS, individually and in her |
official capacity as an Educational Technician
employed by Regional School Unit # 67, | COMPLAINT AND
DEMAND FOR JURY TRIAL
DENISE HAMLIN, individually as the former
Superintendent of Regional School Unit # 67,

And

 

 

KEITH LASER, in his official capacity as
successor to DENISE HAMLIN as the
Superintendent of Regional School Unit #67

Defendants.

 

COUNT I

VIOLATION OF FEDERAL CIVIL RIGHTS
UNDER 42 U.S.C. §1983

1) The Plaintiffs Terry and Kelly Varney bring this matter individually, and as parents and
next friends of their minor daughter R.V. and reside at 46 Taylor Street, Lincoln, County
of Penobscot, State of Maine.

2) The Defendant, Denise Richards, is an individual residing in Mattawamkeag, Maine who
was, at all times relevant an educational technician employed by Regional School Unit

#67 which includes Lincoln, County of Penobscot, State of Maine.

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3) The Defendant, Denise Hamlin, is being sued in her individual capacity and was at all
times relevant the Superintendent of Regional School Unit #67 which includes Lincoln,
County of Penobscot, State of Maine.

4) The Defendant, Keith Laser, is being sued in his official capacity and is the successor to
Denise Hamlin as the Superintendent of Regional School Unit #67 which includes
Lincoln, County of Penobscot, State of Maine.

5) On October 29, 2012, R.V. was assigned by the Regional School Unit (“RSU”) #67’s bus
driver of Bus #9 to sit in the front seat of the bus.

6) On October 29, 2012, R.V. was seven years old and weighed approximately 45 pounds.

7) While R.V. was riding RSU #67, Bus #9 on October 29, 2012, two boys who were R.V.’s
seatmates began to bully and intimidate her.

8) On October 29, 2012, R.V. responded to the two boys who were bullying her and told
them to leave her alone.

9) On October 29, 2012, the bus driver of RSU # 67, Bus #9 parked the bus at RSU #67’s
Junior High School to confront the boys bullying R.V. and told them to leave her alone.

10) On October 29, 2012, shortly after RSU #67, Bus #9 left the Junior High and resumed its
route; R.V’s two seatmates began to retaliate against R.V. and escalated their bullying of
her.

11) On October 29, 2012, in response to her seatmates bullying, R.V. began to yell at the two
boys to leave her alone.

12) On October 29, 2012, Ms. Denise Richards was working in her capacity as an Education

Technician and was sitting a few seats behind R.V. on RSU #67, Bus #9.

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13) On October 29, 2012, after R.V. responded to the escalated bulling Defendant Richards

grabbed R.V. out of her seat and forcibly moved her to the seat directly across from

where Ms. Richards had been sitting. Once there, Ms. Richards forcibly restrained, and

physically and verbally assaulted R.V.

14) On October 29, 2012, RSU #67, Bus #9 was equipped with a security camera which was
operational and which recorded Ms. Richards’ actions.

15) On October 30, 2012, R.V.’s parents, Terry and Kelly Varney sought and received
permission to view the RSU #67, Bus #9 security video of the assault.

16) On or about November 13, 2012, Kelly Varney requested a copy of the RSU #67’s Bus
#9°s October 29, 2012 security video from the Superintendent Denise Hamlin.

17) On or about November 13, 2012, Superintendent Hamlin, in response to Ms. Varney’s
request for a copy of the RSU #67, Bus #9 security video of October 29, 2012, told Ms.
Varney that “ You’ll [Ms. Varney] never see that tape, I’1] bury it first.” When Ms.
Varney asked what Superintendent Hamlin meant, Superintendant responded, “Not only
will you never have a copy of that tape, you’ ll never see it again.”

18) RSU #67 had a written policy governing procedures on physical restraint of students on
October 29, 2012.

19) Under RSU #67’s written policy in force on October 29, 2012 governing procedures on
physical restraint:

“Physical restraint may be used only as an emergency intervention
when the behavior of a student presents an imminent risk of injury
or harm to the student or others, and only after other less intrusive

interventions have failed or been deemed inappropriate.”

20) Under RSU #67’s written policy in force on October 29, 2012 governing procedures on

physical restraint:

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“Prohibited Forms and Uses of Physical Restraint
1. Physical restraint used for punitive purposes; as a therapeutic
or educational intervention; for staff convenience; or to control
challenging behavior.”

21) Denise Richards’ physical restrain of R.V. on October 29, 2012 was not an emergency
intervention.

22) R.V.’s behavior on October 29, 2012 in yelling at the boys who were bullying her did not
present an imminent risk of injury or harm to the student or others.

23) On October 29, 2012, Denise Richard did not consider or attempt a less intrusive
intervention before physically restraining R.V.

24) On October 29, 2012, Denise Richards’ physical restraint of R.V. was for punitive
purposes. |

25) On October 29, 2012, Denise Richards’ physical restraint of R.V. was for staff
convenience.

26) On October 29, 2012, Denise Richards’ physical restraint of R.V. was an attempt to
control what Ms. Richards considered challenging behavior.

27) At all times relevant Denise Richards was employed as an Education Technician for RSU
#67 and was acting under the color of state law.

28) Defendant Richards’ actions in assaulting, verbally abusing, and physically restraining
R.V. in violation of established policy and procedure violated R.V.’s rights under the
US. Constitution to be free from physical force while compelled to attend school.

29) Defendant Richards’ actions in disciplining Terry and Kelly Varney’s daughter, in
violation of school policy, without their consent or permission violated their due process

rights guaranteed under the U.S. Constitution to raise their child without unwarranted

interference from the State.

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30) As a direct and proximate result of Defendant Richards’ actions R.V. has had to seek
treatment and continues to suffer severe emotional distress.

WHEREFORE, the Plaintiffs, individually and as parent and next friend of R.V. demand
judgment against the Defendants in such amount as is reasonable in the premises, plus interest,
costs, attorneys fees, and such other and further relief as this Court deems just and proper.

COUNT I
VIOLATION OF MAINE CIVIL RIGHTS ACT

31) The Plaintiffs repeats, reavers, and realleges each and every allegation contained in
paragraph one through twenty-nine as if expressly set forth herein.

32) At all times relevant the Defendants were acting under the color of state law.

33) The Defendants actions, including without limitation, assaulting R.V. while she was
compelled to attend school, and interfering in the parent-child relationship without due
process; all intentionally interfered by physical force or violence with R.V.’s enjoyment
of rights secured by the Constitution of the State of Maine and its Amendments.
WHEREFORE the Plaintiffs individually and as parents and next friend of R.V. demand

judgment against the Defendants in such amount as is reasonable in the premises, interest,
attorneys’ fees, costs and such other and further relief as this Court deems just and proper.
COUNT It
FAILURE TO SUPERVISE AND TRAIN/
MUNICIPAL LIABILITY
42 U.S.C. §1983

34) The Plaintiffs repeats, reavers, and realleges each and every allegation contained in

paragraph one through thirty-two as if expressly set forth herein.

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35) On October 29, 2012, RSU # 67 had policies and procedures in place which limited
school officials’ physical restraint of students to certain circumstances.

36) At all times relevant Ms. Denise Hamlin was the Superintendent of RSU #67 charged
with training all employees of RSU#67 on the school’s policies and procedures including
those on physical restraint.

37) As Superintendent of RSU #67, Denise Hamlin was responsible for supervising all RSU
#678 staff to ensure that they complied with RSU #67 policies and procedures concerning
the use of physical restraint.

38) Superintendent Hamlin failed to meet her duties by failing to properly train and supervise
RSU #67 employees in the policies and procedures concerning the use of physical
restraints.

39) Superintendent Hamlin’s statement to Ms. Varney that she would bury the security video
and that Ms. Varney would never see it again evidenced Ms. Hamlin’s disregard of the
school’s policies and procedures and created an environment where employee’s failure to
comply with policy and procedure was endorsed by the administration.

40) Superintendent Hamlin’s actions were in reckless disregard of R.V.’s civil rights
guaranteed by the U.S. Constitution and its Amendments.

41) As a direct and proximate result of Superintendent Hamlin’s actions R.V. was forcibly
restrained and physically and verbally assaulted by an employee of RSU #67 and suffered

severe emotional distress.
WHEREFORE, Terry Varney and Kelly Varney individually and on behalf of R.V.

demand judgment against the Defendants in such amount as is reasonable in the premises, plus

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punitive damages, interest, costs, attorneys fees and such other and further relief as this Court
deems just and proper.
COUNT IV
FAILURE TO SUPERVISE/ TRAIN/
MUNICIPAL LIABILITY
MAINE CIVIL RIGHTS ACT

42) The Plaintiffs repeats, reavers, and realleges each and every allegation contained in
paragraph one through forty as if expressly set forth herein.

43) Ms. Hamlin’s failure to train and supervise RSU #67 employees in RSU #67’s policies
and procedures governing the use of physical restraint was the direct and proximate cause
of Denise Richards’ use of force to deprive R.V. of her civil rights under the Maine
Constitution and its Amendments.

44) Superintendent Hamlin’s actions were in reckless disregard of R.V.’s civil rights
guaranteed by the Maine Constitution and its Amendments.

45) As a direct and proximate result of Superintendent Hamlin’s actions R.V. was forcibly
restrained and physically and verbally assaulted by an employee of RSU #67 and suffered
severe emotional distress.

WHEREFORE, Terry Varney and Kelly Varney individually and on behalf of R.V.
demand judgment against the Defendants in such amount as is reasonable in the premises, plus

punitive damages, interest, costs, attorneys fees and such other and further relief as this Court

deems just and proper.

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COUNT V
ASSAULT AND BATTERY

46) The Plaintiffs repeats, reavers, and realleges each and every allegation contained in
paragraph one through forty-four as if expressly set forth herein.

47) On April 4, 2013, Kelly and Terry Varney served a notice of Tort Claim on the
Superintendent of RSU #67 advising that Kelly and Terry Varney intended to bring
common-law tort actions against the RSU and its employees.

48) RSU #67 has failed to respond to the Notice of Tort Claims.

49) Denise Richards’ action in forcibly restraining and physically and verbally assaulting
R.V. were an unauthorized touching and constitute a common law assault and battery.

50) As a direct and proximate result of Ms. Richards’ actions R.V. has needed to seek
treatment and continues to suffer severe emotional distress.

51) Denise Richards’ actions in assaulting and battering a forty-five pound, seven year old
child, who had just been bullied are so outrageous that they cannot be tolerated in a
civilized society and constitute implied malice.

WHEREFORE, Terry Varney and Kelly Varney individually and on behalf of R.V.
demand judgment against the Defendants in such amount as is reasonable in the premises, plus
punitive damages, interest, costs, attorneys fees and such other and further relief as this Court

deems just and proper.

COUNT VI

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
v. DENISE RICHARDS

52) The Plaintiffs repeats, reavers, and realleges each and every allegation contained in

paragraph one through fifty as if expressly set forth herein.

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53) Denise Richards engaged in intentional or reckless conduct when she physically

restrained and physically and verbally assaulted R.V. on October 29, 2012 which conduct

inflicted or was substantially certain to result in severe emotional distress to R.V.

54) Denise Richards conduct in physically restraining and physically and verbally assaulting

a forty-five pound seven year old child they have just been bullied was so extreme and

outrageous as to exceed all possible bounds of decency and must be regarded as atrocious

and utterly intolerable.

55) As a direct and proximate result of Denise Richards conduct in physically restraining and

physically and verbally assaulting R.V. on October 29, 2012, R.V. suffered severe

emotional distress.

56) R.V.’s suffering was so severe that no reasonable person, let alone any reasonable seven

year old could be expected to endure it.

57) Denise Richards’ actions in assaulting and battering a forty-five pound, seven year old

child, who had just been bullied are so outrageous that they cannot be tolerated in a

civilized society and constitute implied malice.
WHEREFORE, Terry Varney and Kelly Varney individually and on behalf of R.V.

demand judgment against Denise Richards in such amount as is reasonable in the premises, plus

punitive damages, interest, costs, attorneys fees and such other and further relief as this Court

deems just and proper.
COUNT VII

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
vy. DENISE HAMLIN

58) The Plaintiffs repeats, reavers, and realleges each and every allegation contained in

paragraph one through fifty-six as if expressly set forth herein.

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59) Denise Hamlin engaged in intentional or reckless conduct when she threatened to destroy
or hide evidence of harm to Terry and Kelly Varney’s seven year old daughter which
conduct inflicted, or was substantially certain to result in, severe emotional distress to
Terry and Kelly Varney.

60) Denise Hamlin’s threat to destroy or hide evidence of harm to Terry and Kelly Varney’s
seven-year-old child was so extreme and outrageous as to exceed all possible bounds of
decency and must be regarded as atrocious and utterly intolerable.

61) As a direct and proximate result of Denise Hamlin’s conduct in threatening to destroy or
hide evidence of harm to Terry and Kelly Varney’s seven-year-old child, Terry and Kelly
Varney suffered severe emotional distress.

62) Terry and Kelly Varney’s suffering was so severe that no reasonable person could be
expected to endure it.

63) Denise Hamlin’s conduct in threatening to destroy or hide evidence of harm to Terry and
Kelly Varney’s seven-year-old child was with actual malice or was so outrageous that it
cannot be tolerated in a civilized society and constitutes implied malice.

WHEREFORE, Terry Varney and Kelly Varney individually and on behalf of R.V.
demand judgment against Denise Hamlin in such amount as is reasonable in the premises, plus

punitive damages, interest, costs, attorneys fees and such other and further relief as this Court

deems just and proper.

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COUNT VI
NEGLIGENT INFLICATON OF EMOTION DISTRESS
yv. DENISE RICHARDS
(IN THE ALTERNATIVE)

64) The Plaintiffs repeats, reavers, and realleges each and every allegation contained in
paragraph one through sixty-two as if expressly set forth herein.

65) Denise Richards as an RSU #67 employee had a duty not to inflict emotional distress on a
seven-year-old child who was compelled, by Maine’s Compulsory Education Law to
attend school.

66) Denise Richards breached that duty of care by physically restraining and physically and
verbally assaulting R.V. on October 29, 2012.

67) It was reasonable foreseeable that R.V. would suffer emotional distress as result of being
physically restrained, and physically and verbally assaulted by Denise Richard.

68) As a direct and proximate result of Denise Richards’ breach of her duty of care, R.V. has
suffered and continues to suffer severe emotional distress.

WHEREFORE, the Plaintiffs Terry and Kelly Varney, as parents and next friends of R.V.
demand judgment against Denise Richards in such amount as is reasonable in the premises, plus
interest, costs, and such other and further relief as this Court deems just and proper.

COUNT IX
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
v. DENISE HAMLIN
(IN THE ALTERNATIVE)
69) The Plaintiffs repeats, reavers, and realleges each and every allegation contained in

paragraph one through sixty-seven as if expressly set forth herein.

70) Denise Hamlin had a duty not to inflict emotional distress upon Terry and Kelly Varney.

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71) Denise Hamlin breached that duty of care by, inter alia, threatening to destroy or hide
evidence of harm to Kelly and Terry Varney’s seven-year-old child.

72) It was reasonable foreseeable that Kelly and Terry Varney would suffer emotional
distress as a result of Denise Hamlin’s conduct in threatening to destroy or hide evidence
of harm to Kelly and Terry Varney’s seven-year-old child.

73) As a direct and proximate result of Denise Hamlin’s breach of her duty of care, Kelly and
Terry Varney have suffered and continue to suffer severe emotional distress.
WHEREFORE, the Plaintiffs Terry and Kelly Varney, as parents and next friends of R.V.

demand judgment against Denise Hamlin in such amount as is reasonable in the premises, plus
interest, costs, and such other and further relief as this Court deems just and proper.

The Plaintiffs demand a jury trial on all Counts of their Complaint.

By their Attorneys

 

Dated: September 29, 2014 Tose ty Melek » \ sles WOW
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